                               Case 2:18-cv-09360-FMO-DFM Document 35 Filed 01/08/19 Page 1 of 4 Page ID #:247



                                1   Lisa S. Kantor, State Bar No. 110678
                                     lkantor@kantorlaw.net
                                2   J. David Oswalt, State Bar No. 73439
                                     jowsalt@kantorlaw.net
                                3   Timothy J. Rozelle, State Bar No. 298332
                                     trozelle@kantorlaw.net
                                4   KANTOR & KANTOR, LLP
                                    19839 Nordhoff Street
                                5   Northridge, CA 91324
                                    Telephone: (818) 886-2525
                                6   Facsimile: (818) 350-6272
                                7   Attorneys for Plaintiff,
                                    Sovereign Asset Management, Inc.
                                8
                                9
                               10                        UNITED STATES DISTRICT COURT
                               11                      CENTRAL DISTRICT OF CALIFORNIA
                               12                                   WESTERN DIVISION
Northridge, California 91324




                               13
 KANTOR & KANTOR LLP
  19839 Nordhoff Street

       (818) 886 2525




                               14   SOVEREIGN ASSET                          )   Case No.: 2:18-cv-09360 FMO (DFMx)
                                    MANAGEMENT, INC.,                        )   Hon. Fernando M. Olguin
                               15                                            )
                                                                             )   JOINT STIPULATION TO
                               16                      Plaintiff,            )   CONTINUE SCHEDULING
                                                                             )   CONFERENCE AND MOTION
                               17           v.                               )   HEARINGS
                                                                             )
                               18   HEALTH NET LIFE INSURANCE                )
                                    COMPANY,                                 )   Scheduling Conference
                               19                                            )   Current Date: January 31, 2019
                                                                             )   Proposed Date: February 14, 2019
                               20                      Defendant.            )
                                                                             )
                               21
                               22
                               23         The parties, through counsel, hereby respectfully submit this Stipulation to
                               24   continue the hearings on Health Net Life Insurance’s (“Health Net”) Motion to
                               25   Dismiss Plaintiff’s First Amended Complaint, Health Net’s Special Motion to Strike
                               26   Allegations in Plaintiff’s Complaint (Anti-Slapp Motion) and the Scheduling
                               27   Conference currently set for January 31, 2019 at 10:00 a.m.
                               28

                                      JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE AND MOTION
                                                                  HEARINGS
                               Case 2:18-cv-09360-FMO-DFM Document 35 Filed 01/08/19 Page 2 of 4 Page ID #:248



                                1           1.     On December 21, 2018, the Court issued a text-only entry resetting the
                                2   hearing dates for Health Net’s Motion to Dismiss Plaintiff’s First Amended Complaint
                                3   and Health Net’s Special Motion to Strike Allegations in Plaintiff’s Complaint (Anti-
                                4   Slapp Motion) (“Motion Hearings”) to January 31, 2019 at 10:00 a.m. [Dkt. #33]
                                5           2.     On the same day, the Court issued an Order Setting Scheduling
                                6   Conference. The Court set a Scheduling Conference for January 31, 2019 with a
                                7   commensurate deadline to meet and confer in person on January 10, 2019 and file a
                                8   Rule 26(f) joint report on January 17, 2019. [Dkt. #34]
                                9           3.     The parties, through counsel, hereby respectfully request a two-week
                               10   extension of the Motion Hearings and the Scheduling Conference set for January 31,
                               11   2019, with a commensurate continuation of (1) the filing of Plaintiff’s oppositions to
                               12   Health Net’s Motion to Dismiss Plaintiff’s First Amended Complaint and Health Net’s
Northridge, California 91324




                               13   Special Motion to Strike Allegations in Plaintiff’s Complaint (Anti-Slapp Motion)
 KANTOR & KANTOR LLP
  19839 Nordhoff Street

       (818) 886 2525




                               14   (“Motions”); (2) the filing of Health Net’s reply briefs in support of its Motions; (3) the
                               15   January 10, 2019 deadline for counsel to meet and confer in person; and, (4) the
                               16   January 17, 2019 deadline for filing of the parties’ joint report pursuant to Federal Rule
                               17   of Civil Procedure 26(f).
                               18           4.     Good cause exists for this brief extension because lead counsel for
                               19   Plaintiff, Lisa S. Kantor, is currently out of the country on a trip that was scheduled
                               20   and arranged prior to the setting of the January 31, 2019 Motion Hearings, Scheduling
                               21   Conference and preceding deadlines. Lead counsel is currently located in Ambergris
                               22   Caye, Belize where inclement weather has rendered viable internet service variable and
                               23   rare.
                               24           Therefore, the parties respectfully request that:
                               25           1.     The Scheduling Conference set for January 31, 2019 at 10:00 a.m. be
                               26   continued until February 14, 2018 at 10:00 a.m., or such other date thereafter that is
                               27   convenient for the Court.
                               28           2.     The deadline for counsel to meet and confer in person, set for January 10,

                                                                            2
                                                 JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE
                               Case 2:18-cv-09360-FMO-DFM Document 35 Filed 01/08/19 Page 3 of 4 Page ID #:249



                                1   2019, be continued to January 24, 2019.
                                2         3.     The Rule 26(f) Joint Report filing deadline of January 17, 2019 be
                                3   continued to January 31, 2019.
                                4         4.     The Motion Hearings set for January 31, 2019 at 10:00 a.m. be continued
                                5   until February 14, 2018 at 10:00 a.m., or such other date thereafter that is convenient
                                6   for the Court.
                                7         5.     The filing of Plaintiff’s oppositions to Health Net’s Motions shall be
                                8   continued to January 24, 2019, or 21 days from the date set by the Court for the
                                9   Motion Hearings.
                               10         6.     The filing of Health Net’s reply briefs in support of its Motions shall be
                               11   continued to January 31, 2019, or 14 days from the date set by the Court from the
                               12   Motion Hearings.
Northridge, California 91324




                               13
 KANTOR & KANTOR LLP
  19839 Nordhoff Street

       (818) 886 2525




                               14   IT IS SO STIPULATED.
                               15
                               16   DATED: January 8, 2019           KANTOR & KANTOR, LLP
                               17
                                                                           By:    /s/ Timothy J. Rozelle
                               18                                                 Lisa S. Kantor
                                                                                  Timothy J. Rozelle
                               19                                                 Attorneys for Plaintiff
                                                                                  SOVEREIGN ASSET
                               20                                                 MANAGEMENT
                               21
                               22
                                    DATED: January 8, 2019           MANATT, PHELPS & PHILLIPS, LLP
                               23
                               24                                          By:    /s/ Ileana M. Hernandez
                                                                                  John M. LeBlanc
                               25                                                 Ileana M. Hernandez
                                                                                  Attorneys for Defendant
                               26                                                 HEALTH NET LIFE INSURANCE
                                                                                  COMPANY
                               27
                               28

                                                                          3
                                               JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE
                               Case 2:18-cv-09360-FMO-DFM Document 35 Filed 01/08/19 Page 4 of 4 Page ID #:250



                                1                            SIGNATURE ATTESTATION
                                2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that the content of
                                3   this document is acceptable to Ileana M. Hernandez, counsel for Defendant Health
                                4   Net Life Insurance Company, and that I have obtained Ms. Hernandez’s
                                5   authorization to affix her electronic signature to this document.
                                6
                                                                           By:    /s/ Timothy J. Rozelle
                                7                                                 Timothy J. Rozelle
                                8                                                 Attorneys for Plaintiff
                                                                                  SOVEREIGN ASSET
                                9                                                 MANAGEMENT
                               10
                               11
                               12
Northridge, California 91324




                               13
 KANTOR & KANTOR LLP
  19839 Nordhoff Street

       (818) 886 2525




                               14
                               15
                               16
                               17
                               18
                               19
                               20
                               21
                               22
                               23
                               24
                               25
                               26
                               27
                               28

                                                                         4
                                              JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE
